






Opinion issued September19, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00790-CV

____________


CHARLES SUMRALL,  Appellant


V.


RUBY TREADWELL,  Appellee






On Appeal from the 11th District Court

Harris County, Texas

Trial Court Cause No. 2001-11306






O P I N I O N

	Appellant has filed a motion to dismiss his appeal.  More than 10 days has
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed without prejudice.  Tex. R. App. P.
42.1(a)(2).


	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Keyes, and Duggan. (1)

Do not publish. Tex. R. App. P. 47.

1.    The Honarble Lee Duggan, Jr., retired Justice, Court of Appeals, First
District of Texas, participating by assignment.

